                              United States District Court
                            Western District of North Carolina
                                   Asheville Division

 Melissa B. Knibbs,                     )            JUDGMENT IN CASE

                                        )
               Plaintiff,               )          1:19-cv-00130-MOC-WCM
                                        )
                  vs.                   )
                                        )
 Anthony Momphard, Jr., Western         )
 Surety Company, Robert Holland,        )
 The Ohio Casualty Insurance            )
 Company,                               )
                                        )
             Defendants.                )

 DECISION BY COURT. This action having come before the Court, and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s November 5, 2020 Order.

                                               November 5, 2020




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